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 1
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 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                    )
 9   UNITED STATES OF AMERICA,                      )   Case No.: 2:13-cr-0084-GEB
10                                                  )
                   Plaintiff,                       )   DEFENDANT’S STIPULATION AND
11          v.                                      )   [PROPOSED] ORDER FOR
                                                    )   CONTINUANCE OF J&S
12   SURJIT SINGH,                                  )
                                                    )   Date: April 27, 2018
13                 Defendant.                       )   Time: 9:00 a.m.
14                                                  )   Judge: Garland E. Burrell, Jr.

15
            IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
16
     Judgment and Sentencing scheduled for April 27, 2018, is continued to June 15, 2018, at
17
     9:00 a.m. in the same courtroom. Defendant needs additional time to prepare for
18
     sentencing.   The United States does not object to defendant’s request for additional time
19
     to prepare for sentencing. The PSR schedule is to be amended as follows:
20
21   Judgment and Sentencing date:                               June 15, 2018
22
23   Reply or Statement                                          June 8, 2018

24   Motion for Correction of the Pre-Sentence
     Report shall be filed with the court and                    June 1, 2018
25   served on the Probation Officer and opposing
26   counsel no later than:

27   The Pre-Sentence Report shall be filed with
     the court and disclosed to counsel no later                 May 25, 2018
28   than:

                                                                                               1
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 1
     Counsel’s written objections to the Pre-
 2   Sentence Report shall be delivered to the              May 18, 2018
     Probation Officer and opposing counsel
 3   no later than:
 4
 5   This is the same schedule adopted by the Court for the sentencing of Surjit Singh’s co-
 6   defendant Rajeshwar Singh. Dkt. 203.
 7          The defendant Surjit Singh will make no additional motions or requests for bail
 8   prior to June 15, 2018.
 9
10   IT IS SO STIPULATED.
11
12   DATED: March 29, 2018                           By:    /s/ Thomas A. Johnson
                                                            THOMAS A. JOHNSON
13                                                          Attorney for Surjit Singh

14
     DATED: March 29, 2018                                  MCGREGOR W. SCOTT
15                                                          United States Attorney

16                                                    By:   /s/ Lee Bickley
                                                            LEE BICKLEY
17                                                          Assistant United States Attorney

18
                                                 ORDER
19          IT IS SO ORDERED.
20          Dated: March 30, 2018
21
22
23
24
25
26
27
28


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